                     IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

                                              :
IN RE:                                        :    CASE NO. 18-61969-rk
                                              :
RICHARD L. MCKOWN                             :    CHAPTER 13
                                              :
Debtor                                        :    JUDGE RUSS KENDIG
                                              :
                                              :       NOTICE OF APPEARANCE OF
                                              :    COUNSEL AND REQUEST FOR NOTICES

         Now comes Jonathon C. Elgin, Assistant Prosecuting Attorney, Richland County, Ohio,

and hereby enters his appearance on behalf of the creditor RICHLAND COUNTY

TREASURER. Pursuant to Fed. R. Bankr. P. 2002(g), counsel respectfully requests that all

notices given or required to be given in this case and all papers served or required to be served in

this case, be given to and served at the address set forth for it in the proofs of claim and also at

the following address and email address:

         Jonathon C. Elgin
         Richland Co. Prosecutor’s Office
         38 S. Park Street, Second Floor
         Mansfield, Ohio 44902
         419-774-5676 (Phone)
         419-774-5889 (Fax)
         jcelgin@richlandcountyoh.us


         Please take further notice that the counsel’s request includes not only the notices referred

to in Fed. R. Bankr. P. 2002, 9007, and 9010, but also includes, without limitation, any orders,

applications, motions, petitions, plans, pleadings, requests, complaints or other papers which
affect or seek to affect in any way the procedural or equitable rights or interests of Richland

County, Ohio. Counsel requests that he be added to the Clerk’s mailing matrix in this case.



                                         /s/Jonathon C. Elgin
                                         Jonathon C. Elgin (0096390)
                                         Richland Co. Prosecutor’s Office
                                         38 S. Park Street, Second Floor
                                         Mansfield, Ohio 44902
                                         419-774-5676 (Phone)
                                         419-774-5889 (Fax)
                                         jcelgin@richlandcountyoh.us
                                         Attorney for Creditor Richland County Treasurer



                                CERTIFICATE OF SERVICE

I hereby certify that on October 2, 2018 a true and accurate copy of the foregoing was served via

the court’s Electronic Case Filing System on these entities and individuals who are listed on the

court’s Electronic Mail Notice List:

Richard L. McKown (Debtor, Pro Se)
1861 Mount Zion Road
Mansfield, OH 44903-7550

Dynele L Schinker-Kuharich (Trustee)
Office of the Chapter 13 Trustee
400 Tuscarawas Street West, Suite 400
Canton, OH 44702


                                         /s/Jonathon C. Elgin
                                         Jonathon C. Elgin (0096390)
                                         Attorney for Creditor Richland County Treasurer
